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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                 Plaintiffs,

          v.
                                                          C.A. No. 1:25-cv-00039
  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES, et al.,

                 Defendants.



 PLAINTIFF STATES’ RESPONSE TO DEFENDANTS’ EMERGENCY MOTIONS FOR
                             PERMISSION
         Plaintiff States respectfully submit this response to Defendants’ requests for “permission

 to continue withholding” funds connected to the Shelter and Services Program in New York, ECF

 No. 102, and for permission to continue reviewing payment requests in the Payment Management

 System (“PMS”), ECF No. 103. Defendants’ requests are not necessary and should be denied as

 moot.

         As Plaintiff States have explained, No. 25-1138, Doc. No. 00118246517 at 9 (1st Cir. Feb.

 11, 2025), neither the TRO, ECF 50, nor the Court’s subsequent orders require defendants to seek

 “preclearance” from this Court before acting to terminate funding based on actual authority in the

 applicable statutory, regulatory, or grant terms to do so. The Parties agree that the TRO permits

 Defendants to limit access to federal funds “on the basis of the applicable authorizing statutes,

 regulations, and terms.” ECF 50 at 12; ECF 102 at 1.

         As to Defendants’ request related to FEMA funds to New York City, Defendants

 acknowledge that they intend to engage in the process of providing “notice to New York City

 regarding the funding pause and will provide the information and process required by regulation

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 and the terms and conditions of the award.” ECF 102-1 (Hamilton Declaration) ¶ 13. It is unclear

 to Plaintiff States why Defendants made this filing at this juncture, given that they assert they are

 seeking to terminate funding “on the basis of the applicable authorizing statutes, regulations, and

 terms,” ECF 50 at 12, ECF 102 at 1, but, by their own admission, have not yet taken the steps

 under those authorities to do so. ECF 50 at 12.

        Defendants’ second motion for permission, ECF 103, is also unnecessary and should be

 denied as moot. Nothing in the TRO prevents Defendants from continuing to use routine PMS

 processes it has used “for decades,” ECF 103-1 ¶ 4, before the Funding Freeze.



 Dated: February 11, 2025

 Respectfully Submitted,



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